                                                      _________




  Case 2:10-cr-00851-CCC     Document 222       Filed 09/19/12      Page 1 of 2 PageID: 2198


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA,

                       Plaintiff.                   Hon.    Dennis M. Cavanauch,
                                                               U S U J.


STEPHEN DEPIRO, a/k/a “Beach,”
ALBERT CERNADAS, a/k/a “The                         Criminal No,      10-851   (DMC)
Bull,” NJNZ 10 LAGRASSO, RI CHARD
IDERMEF, a/k/a “Dickie,” EDWARD
AULISI, a/k/a “Eddie,” VINCENT
AULISI, a/k/a “The Vet,” THOMAS
LEONAHD:S, a/k/a “Tommy,” ROBERT
       a, ,a
                                                       ORDER MODIFYING BAIL
TRUEBA, a/k/a “Mikey,” SALVATORE
LAGEASSO, MICHAEL NICQLOS, ROCCO
FERRANDINO, JULIO PORRAO, and
JOHN HARTMANN, a/k/a “Lumpy,”
“Fatty,” and Fats,”

                     Defendants.


     THIS MATTER having been opened to                the Court by the Defendant

Rocco Ferrandino, through his attorney, Vincent S. Verdiramo, Esq.,

with the consent of the United States of America                    (Assistant United

States   Attorneys Anthony         J.    Mahajan,    Esq.   and   Taryri Merkl,      Esq.

appeating) ,   and   the   Court    having    considered      the    matter,   and    for

good and sufficient        cause shown;

     IT IS ON THIS           /3             DAY OF                              ,    2012

     ORDERED:


           That the Defendant’s Motion for Modification of Bail                        it

           hereby granted;         and
Case 2:10-cr-00851-CCC       Document 222        Filed 09/19/12   Page 2 of 2 PageID: 2199



   2.    That the Clerk of the Court is hereby directed to release

         the   bond        previously    placed       for   421    Garden    Street,

         Hoboken, New Jersey and the Clerk of the Court is further

         ordered      to    substitute      in     its   place    a   bond   against

         property located at 254255 Highland Drive,                      Lakevifle,

         Pennsylvania 18438;        and

   3.    That all other conditions of release heretofore imposed

         shall remain in full force and effect until further order

         of this Court.




                               Honorable Dennis M.           avanaugh,    USDJ.
